       Case 1:25-cv-00096-3JP     Document 1     Filed 04/03/25   Page 1 of 29




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION



EMILY LEY PAPER, INC., d/b/a
SIMPLIFIED,
                   Plaintiff,
                                                    Civil Case No. _____________
v.

DONALD J. TRUMP, in his official
capacity as President of the United                 COMPLAINT FOR
States; EXECUTIVE OFFICE OF THE                     INJUNCTIVE AND
PRESIDENT; UNITED STATES OF                         DECLARATORY RELIEF
AMERICA; KRISTI NOEM, in her
official capacity as Secretary of the U.S.
Department of Homeland Security;
DEPARTMENT OF HOMELAND
SECURITY; PETE R. FLORES, in his
official capacity as Acting Commissioner
for U.S. Customs and Border Protection;
and U.S. CUSTOMS AND BORDER
PROTECTION,
                   Defendants.



             Plaintiff Emily Ley Paper Inc., d/b/a Simplified (“Simplified”) alleges

as follows for its Complaint against Defendants Donald J. Trump, in his official

capacity as President of the United States; Executive Office of the President; United

States of America; Kristi Noem, in her official capacity as Secretary of Homeland



                                             1
      Case 1:25-cv-00096-3JP     Document 1      Filed 04/03/25    Page 2 of 29




Security; Department of Homeland Security; Pete R. Flores, in his official capacity

as Acting Commissioner for U.S. Customs and Border Protection; and U.S. Customs

and Border Protection.

                                INTRODUCTION
      1.     Plaintiff challenges President Trump’s unlawful use of emergency

power to impose a tariff on all imports from China. The President ordered this tariff

in an Executive Order issued on February 1, 2025, then doubled it in an Executive

Order he issued a month later on March 3, 2025. The President issued these China-

related Executive Orders (“China Executive Orders”) as part of a set of Executive

Orders imposing across-the-board tariffs on our three largest trading partners: China,

Canada, and Mexico. The President purported to order these tariffs under the

International Emergency Economic Powers Act of 1977 (“IEEPA”), but that is a

statute that authorizes presidents to order sanctions as a rapid response to

international emergencies. It does not allow a president to impose tariffs on the

American people. President Trump’s Executive Orders imposing a China tariff are,

therefore, ultra vires and unconstitutional. This Court should enjoin their

implementation and enforcement. It also should vacate all resulting modifications

made to the Harmonized Tariff Schedule of the United States (“HTSUS”).

      2.     A tariff is a tax on Americans’ commerce with other countries. The

Constitution assigns Congress exclusive power to impose tariffs and regulate foreign



                                          2
      Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25    Page 3 of 29




commerce. Presidents can impose tariffs only when Congress grants permission,

which it has done in carefully drawn trade statutes. These statutes typically authorize

tariffs only on industries or countries that meet specified criteria, and only under

specified conditions, after following specified procedures. Such statutes require

advance investigations, detailed factual findings, and a close fit between the

statutory authority and a tariff’s scope.

      3.     President Trump is attempting to bypass these constraints by invoking

the IEEPA. But in the IEEPA’s almost 50-year history, no previous president has

used it to impose tariffs. Which is not surprising, since the statute does not even

mention tariffs, nor does it say anything else suggesting it authorizes presidents to

tax American citizens.

      4.     IEEPA does authorize asset freezes, trade embargoes, and similar

economic sanctions. Presidents have used the IEEPA to target dangerous foreign

actors—primarily terrorist organizations and hostile countries such as Iran, Russia,

and North Korea. Congress passed the IEEPA to counter external emergencies, not

to grant presidents a blank check to write domestic economic policy.

      5.     Even if the IEEPA did permit tariffs in some cases—which it does not—

it still would not permit them here. The IEEPA limits presidents to actions that are

“necessary” to address the specific emergency at hand. Here, President Trump

declared an emergency relating to China because of illegal opioids entering the



                                            3
      Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25    Page 4 of 29




United States. But his China Executive Orders show no connection between the

opioid problem and the tariff he ordered—much less that the tariff is “necessary” to

resolve that problem. The means of an across-the-board tariff does not fit the end of

stopping an influx of opioids, and is in no sense “necessary” to that stated purpose.

      6.     In fact, President Trump’s own statements reveal the real reason for the

China tariff, which is to reduce American trade deficits while raising federal revenue.

While the “emergency” is not challenged here, the “fit” of the tariffs to the declared

emergency does not meet the requirements of the IEEPA.

      7.     If the President is permitted to use the IEEPA to bypass the statutory

scheme for tariffs, the President will have nearly unlimited authority to commandeer

Congress’s power over tariffs. He would be empowered to declare a national

emergency based on some long-running national problem, then impose tariffs

purportedly in the name of that emergency—thus sidestepping the detailed

constraints Congress has placed on the tariff authority it has granted.

      8.     The heavy tariff the President imposed on products from China has

inflicted economic and competitive harm on Plaintiff Simplified, a small business

that purchases products from sources in China and pays the related tariffs. The China

Executive Orders require Simplified to pay significantly more in tariffs, thus

inflicting severe competitive injury in the form of higher costs, competitive

disadvantage, and lost profits. These Executive Orders also deny Simplified the



                                          4
      Case 1:25-cv-00096-3JP     Document 1      Filed 04/03/25    Page 5 of 29




protection the Constitution promised when it assigned Congress sole control of

tariffs and the regulation of commerce with foreign nations.

      9.     The tariffs imposed by the China Executive Orders will greatly damage

Simplified because it imports material from China each year, from December to

March. Simplified has to pay tariffs as orders are received in the United States.

Under current plans, the new tariffs will impose hundreds of thousands of dollars in

costs on Simplified. If it moves its manufacturing operations away from China, this

would impose further costs. Either course would require Simplified to raise its prices

to its customers and either reduce its already small staff or not hire more staff. Any

raised prices for Simplified’s products will likely reduce demand for those products.

      10.    The China Executive Orders and the resulting modifications to the

HTSUS are unlawful for at least four reasons.

                a. First, the China Executive Orders are ultra vires because the

                   IEEPA does not authorize a president to impose tariffs. Basic

                   tools of statutory construction dictate this conclusion. The

                   Supreme Court’s major questions doctrine confirms it. Because

                   the Executive Orders present a question of “vast economic and

                   political significance,” the major questions doctrine requires the

                   President to show that the IEEPA “clearly” authorizes him to

                   impose tariffs. The President cannot make that showing.



                                          5
     Case 1:25-cv-00096-3JP   Document 1      Filed 04/03/25    Page 6 of 29




              b. Second, the China Executive Orders are ultra vires because the

                 President has not—and cannot—meet the IEEPA requirement

                 that he show the tariffs are “necessary” to address the stated

                 “emergency” of illegal opioids.

              c. Third, if IEEPA permits the China Executive Orders, then this

                 statute violates the nondelegation doctrine because it lacks an

                 intelligible principle that constrains a president’s authority. In

                 that case, the IEEPA is unconstitutional because it delegates

                 Congress’s prerogative to tax and to regulate commerce with

                 foreign nations.

              d. Fourth, the resulting modifications made to the HTSUS violate

                 the Administrative Procedure Act because they are contrary to

                 law. The Department of Homeland Security, acting primarily

                 through U.S. Customs and Border Protection, made these

                 modifications to comply with the China Executive Orders. But

                 for the reasons just noted, those Order are themselves unlawful,

                 making the resulting HTSUS modifications contrary to law.

     11.   Accordingly, Plaintiff asks the Court to declare the China Executive

Orders and the related HTSUS modifications unlawful and unconstitutional, to




                                       6
      Case 1:25-cv-00096-3JP        Document 1   Filed 04/03/25    Page 7 of 29




enjoin Defendants from implementing or enforcing them, and to set aside the

modifications to the tariff schedule.

                           JURISDICTION AND VENUE
       12.    The Court has subject matter jurisdiction under 28 U.S.C. § 1331

because this action arises under the United States Constitution, the International

Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701 et seq., and the

Administrative Procedure Act (“APA”), 5 U.S.C. § 551 et seq.

       13.    The Court has authority to grant declaratory and injunctive relief under

the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202; the Administrative

Procedure Act, 5 U.S.C. § 702; and the Court’s inherent equitable powers.

       14.    Venue is proper in this District under 28 U.S.C. § 1391(e)(1), because

Defendants are officers or employees of agencies of the United States acting in their

official capacities, and because a substantial part of the events or omissions giving

rise to this action occurred in this District.

                                    THE PARTIES
       15.    Simplified is a Florida corporation with its principal place of business

in Pensacola, Florida. It sells premium planners, organizational tools, and home

management products. A woman-owned and led business, Simplified’s mission is

to inspire and empower women with the tools they need to simplify their lives.

Simplified has made and makes significant purchases from sources in China. The

products it imports are not reasonably available from a supplier in the United States.

                                             7
      Case 1:25-cv-00096-3JP      Document 1      Filed 04/03/25   Page 8 of 29




Simplified has paid substantial tariffs and, because of the China Executive Orders,

will pay higher tariffs and suffer economic injuries including lost profits.

      16.    Defendant Donald J. Trump is the President of the United States and is

sued in his official capacity. President Trump issued the China Executive Orders,

purportedly acting under authority of the IEEPA, 50 U.S.C. § 1701 et seq., and the

National Emergencies Act (“NEA”), 50 U.S.C. § 1601 et seq.

      17.    Defendant Executive Office of the President is a federal agency

headquartered in Washington, D.C.

      18.    Defendant United States of America is a sovereign state governed under

the United States Constitution that engages in commerce with foreign nations.

      19.    Defendant Kristi Noem is the Secretary of Homeland Security and is

sued in her official capacity. The China Executive Orders tasked Secretary Noem

with implementing the China Executive Orders by modifying the HTSUS.

      20.    Defendant Department of Homeland Security is a federal agency

headquartered in Washington, D.C.

      21.    Defendant Pete R. Flores is the Acting Commissioner for U.S. Customs

and Border Protection. U.S. Customs and Border Protection implemented

modifications to the HTSUS to comply with the China Executive Orders. This agency

also performs critical functions to collect tariff payments, including payments for the

China tariff challenged in this lawsuit.



                                           8
         Case 1:25-cv-00096-3JP    Document 1      Filed 04/03/25    Page 9 of 29




         22.   Defendant U.S. Customs and Border Protection is a federal agency

headquartered in Washington, D.C.

                             FACTUAL ALLEGATIONS
         The President’s Authority Under Tariff Statutes
         23.   The U.S. Constitution assigns Congress the sole power to legislate,

regulate foreign commerce, and impose tariffs. U.S. Const. art. I, § 8. President

Trump can impose tariffs only to the extent Congress has expressly allowed him to

do so.

         24.   Until the President ordered the tariffs at issue here, presidents imposing

tariffs had relied on authority Congress has delegated in trade statutes. Those statutes

all are located in the “Customs Duties” Title of the United States Code. See U.S.

Code Title 19.

         25.   During President Trump’s first term, for example, his Administration

imposed tariffs on imports from China by complying with Section 301 of the Trade

Act of 1974 (known as the “Unilateral Trade Sanctions” provision), which authorizes

tariffs on countries that have violated certain trade agreements. See 19 U.S.C.

§ 2411.1




1
  USTR, President Trump Announces Strong Actions to Address China’s Unfair
Trade (Mar. 22, 2018), https://ustr.gov/about-us/policy-offices/press-office/press-
releases/2018/march/president-trump-announces-strong.

                                            9
     Case 1:25-cv-00096-3JP       Document 1     Filed 04/03/25    Page 10 of 29




      26.    The first Trump Administration imposed tariffs on steel and aluminum

under authority granted by another tariff statute, Section 232 of the Trade Expansion

Act (the “National Security Provision”). See 19 U.S.C. § 1862.2 As this statute

permits, the Administration imposed the tariffs to protect the domestic steel and

aluminum industries and, in turn, national security.

      27.    That Administration also imposed tariffs on solar cells and washing

machines, this time under Section 201 of the Trade Act of 1974 (the “Global

Safeguard Provision”). In this provision, Congress authorized tariffs to provide

temporary relief to industries while they adjust to foreign competition. 19 U.S.C.

§ 2251.3

      28.    These trade statutes all require the Executive Branch to follow specific

procedures before imposing a tariff. For example, Section 301 of the Trade Act of

1974, 19 U.S.C. § 2411-2420, required the U.S. Trade Representative to navigate a

multi-step administrative process: Publish a Federal Register request for public

comment on the proposed tariffs; conduct a factual investigation into China’s trade

practices; conduct a public hearing on the matter; then issue a detailed report. To

meet the statutory requirements for a tariff, the report had to contain factual findings



2
  Proclamation 9704 (March 8, 2018), 83 FR 11619 (Mar. 15, 2018).
3
 USTR, President Trump Approves Relief for U.S. Washing Machine and Solar
Cell Manufacturers (Jan. 22, 2018), https://ustr.gov/about-us/policy-offices/press-
office/press-releases/2018/january/president-trump-approves-relief-us.

                                           10
      Case 1:25-cv-00096-3JP     Document 1     Filed 04/03/25    Page 11 of 29




showing that China’s trade practices did violate trade agreements. See 19 U.S.C.

§§ 2411(a)–(c), 2414.4 If the U.S. Trade Representative had not found facts

establishing that conclusion, the statute would not have permitted the Administration

to impose the tariffs.

      29.    Performing the required procedures for the China tariff took more than

10 months.5 The procedures for the steel and aluminum tariffs took eleven months,6

and the procedures for the washer and solar cell tariffs took more than eight months.7

      The President’s Authority Under the IEEPA
      30.    When President Trump began his second term, he chose to bypass these

tariff statutes. Instead of again relying on the “Customs Duties” Title, U.S. Code

Title 19, he turned to a different part of the U.S. Code, “War and National Defense,”

U.S. Code Title 50. This Title contains the IEEPA. 50 U.S.C. §§ 1701–1706


4
  USTR, Findings of the Investigation Into China’s Acts, Policies, and Practices
Related to Technology Transfer, Intellectual Property, and Innovation Under
Section 301 of The Trade Act of 1974 (Mar. 22, 2018),
https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF .
5
  See summary in Nina M. Hart and Brandon J. Murrill, Cong. Rsch. Serv.,
LSB10553, Section 301 Tariffs on Goods from China: International and Domestic
Legal Challenges (2022).
6
  U.S. Department of Commerce, Section 232 Investigation on the Effect of Imports
of Steel on U.S. National Security (Mar, 18, 2018),
https://www.commerce.gov/issues/trade-enforcement/section-232-steel.
7
  USTR Fact Sheet, Section 201 Cases: Imported Large Residential Washing
Machines and Imported Solar Cells and Modules (Jan. 22, 2018) (addressing
washer and solar-cell tariffs),
https://ustr.gov/sites/default/files/files/Press/fs/201%20Cases%20Fact%20Sheet.pd
f.

                                          11
     Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25    Page 12 of 29




      31.    The IEEPA authorizes a president to respond to a foreign threat by

declaring a national emergency, then ordering one of the economic responses the

statute describes. 50 U.S.C. § 1702(a). The statute defines an emergency as “an

unusual and extraordinary threat, which has its source … outside the United States,

to the national security, foreign policy, or economy of the United States.” 50 U.S.C.

§ 1701(a). The IEEPA provides that, after declaring a national emergency, a president

can order a responsive action if it meets two requirements. First, the action must be

included in the IEEPA’s list of permissible actions, such as freezing assets and

blocking international transactions. 50 U.S.C. § 1702(a)(1)(A), (B). Second, the

specific action must be “necessary” to address the specific declared emergency. 50

U.S.C. § 1703(b)(4).

      32.    Consistent with these limitations, presidents have cited the IEEPA to

impose economic sanctions such as import bans and asset freezes.8 Typical targets

of the sanctions have been foreign governments, foreign political parties, and

terrorist organizations.9 In limited instances presidents have cited the IEEPA against




8
  Christopher A. Casey and Jennifer K. Elsea, Cong. Rsch. Serv., R45618, The
International Emergency Economic Powers Act: Origins, Evolution, and Use 25–
26 (2024). For a history of sanctions under the IEEPA, see id. at App. A.
9
  Id. at 22.

                                          12
     Case 1:25-cv-00096-3JP       Document 1   Filed 04/03/25   Page 13 of 29




domestic targets, but those typically have been specific wrongdoers such as “Persons

Who Commit, Threaten to Commit, or Support Terrorism.”10

      33.   President Trump has previously cited the IEEPA, though not to impose

tariffs. In 2019, for example, he invoked it to freeze the assets of the main

Venezuelan state-owned oil company.11 Like President Trump during his first term,

other presidents have used the IEEPA to impose consequences on America’s foes,

not taxes on American citizens.

      The Executive Orders Imposing Tariffs Under the IEEPA
      34.   That changed when President Trump took office for his second term.

On Inauguration Day, January 20, 2025, he took the first step to using the IEEPA to

impose tariffs. That day, he issued a Proclamation declaring an emergency at the

U.S.-Mexican border, emphasizing the threat from cartels, other illegal actors, and

illegal drugs. His Proclamation stated that the Mexican border was “overrun by

cartels, criminal gangs, known terrorists, human traffickers, smugglers, unvetted

military-age males from foreign adversaries, and illicit narcotics that harm




10
   See, e.g., E.O. 13224, Blocking Property and Prohibiting Transactions with
Persons Who Commit, Threaten to Commit, or Support Terrorism (September 23,
2001).
11
   E.O. 13857, Taking Additional Steps to Address the National Emergency with
Respect to Venezuela (Jan. 25, 2019); Treasury Sanctions Venezuela’s State-Owned
Oil Company Petroleos de Venezuela, S.A., U.S. Department of the Treasury (Jan.
28, 2019), https://home.treasury.gov/news/press-releases/sm594.

                                         13
      Case 1:25-cv-00096-3JP      Document 1      Filed 04/03/25    Page 14 of 29




Americans.”12 This emergency declaration was a basis of the Executive Order

imposing tariffs on Mexican products, which as explained below, the President

issued 12 days later.

      35.    Also on Inauguration Day, the President issued a separate

“Memorandum” on trade issues, titled “America First Trade Policy.”13 It directed

key agencies to review existing tariffs and other trade measures to “Address[] Unfair

and Unbalanced Trade.” It discussed “our country’s large and persistent annual trade

deficits” and referred to a possible “global supplemental tariff … to remedy” the

trade deficits.14 It discussed the revenue the United States can raise through tariffs.15

The Memorandum referred to only three countries: China, Canada, and Mexico.16

      36.    Twelve days later, on February 1, 2025, President Trump issued

Executive Orders imposing the tariffs. First, however, he extended the Mexico

emergency to China and Canada, now describing the emergency as “[t]he

extraordinary threat posed by illegal aliens and drugs, including deadly fentanyl.”17



12
    Proclamation 10886, Declaring a National Emergency at the Southern Border of
the United States (Jan. 20, 2025).
13
   Memorandum from President Trump to the Secretary of State, et al., America First
Trade Policy (Jan. 20, 2025), https://www.whitehouse.gov/presidential-
actions/2025/01/america-first-trade-policy/.
14
   Id. § 2.
15
   Id. § 2(b), (i).
16
   Id. §§ 3, 4(g).
17
   The White House, Fact Sheet, President Donald J. Trump Imposes Tariffs on
Imports from Canada, Mexico, and China (Feb. 1, 2025),

                                           14
      Case 1:25-cv-00096-3JP      Document 1    Filed 04/03/25   Page 15 of 29




Addressing China’s role, the President stated that “Chinese officials have failed to

take the actions necessary to stem the flow of precursor chemicals to known criminal

cartels and shut down money laundering by transnational criminal organizations.”18

The President also criticized “the failure of the [People’s Republic of China]

government to arrest, seize, detain, or otherwise intercept chemical precursor

suppliers, money launderers, other [transnational criminal organizations], criminals

at large, and drugs.”19

      37.    The President further discussed the expanded emergencies in Mexico

and Canada, declaring that those countries’ governments had failed “to arrest, seize,

detain, or otherwise intercept [drug trafficking organizations], other drug and human

traffickers, … and [illicit] drugs.”20

      38.    Based on the expanded emergency, President Trump issued the three

Executive Orders imposing tariffs. The February 1, 2025 China Executive Order

imposed an incremental 10% tariff (on top of existing tariffs) on all imports from

China. See E.O. 14195, “Imposing Duties to Address the Synthetic Opioid Supply



https://www.whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-
trump-imposes-tariffs-on-imports-from-canada-mexico-and-china/.
18
   Id.
19
   Presidential Action, Imposing Duties to Address the Synthetic Opioid Supply
Chain in the People’s Republic of China (Feb. 1, 2025).
20
   Presidential Action, Imposing Duties to Address the Situation at Our Southern
Border (Feb. 1, 2025); Presidential Action, Imposing Duties to Address the Flow of
Illicit Drugs Across Our Northern Border (Feb. 1, 2025).

                                         15
     Case 1:25-cv-00096-3JP       Document 1     Filed 04/03/25     Page 16 of 29




Chain in the People’s Republic of China.” This incremental tariff doubled the

average tariff on goods from China, which had been 10%.21

      39.    The China tariff took effect on February 4, 2025. See 90 Fed. Reg. 9431

(Feb. 12, 2025) (publishing revision to the HTSUS). A month later, on March 3,

2025, the President doubled this incremental tariff to 20%, bringing the total average

tariff on Chinese products to 30%. Explaining the increase, that Executive Order

stated that “the PRC has not taken adequate steps to alleviate the illicit drug crisis.”

E.O. 14228 (Mar. 3, 2025). See 90 Fed. Reg. 11426 (Mar. 6, 2025) (publishing

revision to the HTSUS).

      40.    The other two February 1, 2025 Executive Orders imposed a 25% tariff

on all products from Mexico and Canada respectively (except setting the tariff on

Canadian energy at 10%). See E.O. 14194, “Imposing Duties to Address the

Situation at Our Southern Border;” E.O. 14193, “Imposing Duties to Address the




21
   Before the Executive Orders, the effective tariff rate on imports from China was
approximately 10%. See Hannah Miao, Breaking Down Trump’s Tariffs on China
and the World, in Charts, Wall St. J. (Dec. 3,
2024), https://www.wsj.com/economy/trade/trump-tariff-rates-china-world-trade-
charts-3d6aee09; Effects of U.S. Tariff Policy Changes Will Vary Sharply Across
Sectors, Countries, FitchRatings (Jan. 9,
2025), https://www.fitchratings.com/research/structured-finance/effects-of-us-
tariff-policy-changes-will-vary-sharply-across-sectors-countries-09-01-2025.

                                           16
     Case 1:25-cv-00096-3JP     Document 1     Filed 04/03/25   Page 17 of 29




Flow of Illicit Drugs Across Our Northern Border.” Before these new tariffs, tariffs

on goods from Canada and Mexico were near zero.22

      41.   Two days later, on February 3, the President declared a one-month delay

in the effective date of the Canada and Mexico tariffs. E.O. 14197 (Feb. 3, 2025);

E.O. 14198 (Feb. 3, 2025). Those tariffs became effective on March 4, 2025.23 On

March 6, 2025, President Trump announced a one-month pause (until April 2, 2025)

on goods and services that were covered by the United States-Mexico-Canada

Agreement, a 2020 trade agreement.24




22
   Before the Executive Orders, i.e., in 2024, the effective tariff rate on imports
from Mexico was less than 1%, Hannah Miao, Breaking Down Trump’s Tariffs on
China and the World, in Charts, Wall St. J. (Dec. 3,
2024), https://www.wsj.com/economy/trade/trump-tariff-rates-china-world-trade-
charts-3d6aee09, and from Canada was just 0.1%, Effects of U.S. Tariff Policy
Changes Will Vary Sharply Across Sectors, Countries, Fitch Ratings (Jan. 9,
2025), https://www.fitchratings.com/research/structured-finance/effects-of-us-
tariff-policy-changes-will-vary-sharply-across-sectors-countries-09-01-2025.
23
   U.S. Customs and Border Protection Notice, 90 Fed. Reg. 11743 (Mar. 11,
2025) (modification of the HTSUS for products of Canada); U.S. Customs and
Border Protection Notice, 90 Fed. Reg. 11429 (Mar. 6, 2025) (modification of the
HTSUS for products of Mexico).
24
   David Goldman, Trump delays some tariffs on Mexico and Canada for one
month, CNN (Mar. 6, 2025), https://www.cnn.com/2025/03/06/economy/tariffs-
delay-mexico-canada/index.html; see also Presidential Action, Amendment to
Duties to Address the Flow of Illicit Drugs Across Our Northern Border (March 6,
2025); Presidential Action, Amendment to Duties to Address the Flow of Illicit
Drugs Across Our Southern Border (March 6, 2025).

                                         17
      Case 1:25-cv-00096-3JP     Document 1      Filed 04/03/25   Page 18 of 29




      The Revisions to the HSTUS
      42.    The China Executive Orders direct the Secretary of Homeland Security

to implement the tariffs by modifying the HTSUS, which sets out the tariff rates and

statistical categories for all merchandise imported into the United States. The China

Executive Orders instruct the Secretary of Homeland Security to modify the HTSUS

“through notice in the Federal Register.”

      43.    As described above, see ¶¶ 39, 41, U.S. Customs and Border Protection

published notices modifying the HSTUS to reflect all changes required by the

relevant Executive Orders.

                              CLAIMS FOR RELIEF
                                 COUNT I
     (Defendants President Trump and Executive Office of the President)
            Presidential Order in Excess of Statutory Authority:
                     IEEPA Does Not Authorize Tariffs
      44.    Plaintiff incorporates the preceding paragraphs by reference as if fully

set forth herein.

      45.    The tariff ordered in the China Executive Orders must be supported by

clear and explicit congressional authorization. It is not, because the IEEPA does not

authorize a president to impose tariffs.

      46.    When this Court interprets the text of the IEEPA to determine whether

it authorizes tariffs, the Court must “determine the best reading” of the IEEPA,

without deferring to the Executive Branch’s proposed interpretation. Loper Bright



                                            18
     Case 1:25-cv-00096-3JP     Document 1      Filed 04/03/25   Page 19 of 29




Enterprises v. Raimondo and Relentless v. Dep’t of Commerce, 603 U.S. 369, 400

(2024). That legal question—whether the IEEPA authorizes tariffs—does not

involve determining whether an emergency exists. Nor does it involve making any

judgments about national security.

      47.   The Supreme Court has warned against finding new authority in

decades-old statutes. See, e.g., Util. Air Regul. Group (UARG) v. EPA, 573 U.S. 302,

324 (2014) (“When an agency claims to discover in a long-extant statute an

unheralded power to regulate ‘a significant portion of the American economy,’ …

we typically greet its announcement with a measure of skepticism.”) (quoting FDA

v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)).

      48.   In the 48 years since Congress enacted the IEEPA—years that cover

eight presidents—no president had cited it to impose tariffs until President Trump

issued the February 1, 2025 Executive Orders.

      49.   That pre-2025 history is consistent with the IEEPA’s text, because the

text does not authorize a president to require Americans to pay tariffs. See §

1702(a)(1)(A), (B).

      50.   Moreover, tariffs differ in kind from the actions the IEEPA does

authorize. None of the authorized emergency actions involves imposing a tax on

American citizens and residents. See § 1702(a)(1)(A), (B).




                                         19
      Case 1:25-cv-00096-3JP      Document 1       Filed 04/03/25    Page 20 of 29




      51.    The absence in the IEEPA of any authority to impose tariffs contrasts

with the text of tariff statutes, which expressly refer to duties or tariffs. For example,

Section 301 of the Trade Act of 1974 authorizes the president to “impose duties or

other import restrictions.” 19 U.S.C. § 2411(c)(1)(B) (emphasis added). Likewise,

Section 201 of the Trade Act of 1974 authorizes the president to “proclaim an

increase in, or the imposition of, any duty on the imported article” or “proclaim a

tariff-rate quota on the article.” 19 U.S.C. §2251(a)(3)(A), (B) (emphasis added).

And Section 232 of the Trade Expansion Act refers to authority to change the level

of “duties” on imports, 19 U.S.C. § 1862(a) (emphasis added), and to “adjust the

imports,” 19 U.S.C. § 1862(c).

      52.    Basic principles of statutory construction establish that the IEEPA does

not authorize the president to impose tariffs on Americans. This conclusion is

reinforced by the major questions doctrine, which presumes that Congress “speak[s]

clearly” if it authorizes the Executive Branch to make “decisions of vast ‘economic

and political significance.’” UARG, 573 U.S. at 324. Accord West Virginia v. EPA,

597 U.S. 697, 716 (2022).

      53.    It is just such a decision when a president imposes heavy across-the-

board tariffs on all imports from our country’s three largest trading partners. These

tariffs represent a tax increase of hundreds of billions of dollars each year: In 2024,




                                            20
     Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25    Page 21 of 29




imports from Canada, China and Mexico reached more than $1.3 trillion.25 These

tariffs constitute the largest tax increase in a generation, according to the Peterson

Institute for International Economics.26

      54.    Because the IEEPA does not authorize a president to impose tariffs, the

China Executive Orders are ultra vires, lying outside the bounds of the authority

Congress delegated to the president. And because the China Executive Orders are

unlawful, the HTSUS modifications made in reliance on them also are unlawful.

      55.    The President’s ultra vires Executive Orders and the modifications to

the HTSUS have caused and will continue to cause irreparable harm to Plaintiff.




25
   According to the Office of the U.S. Trade Representative, 2024 imports from
Canada were $412.7 billion, USTR, Canada Trade Summary,
https://ustr.gov/countries-regions/americas/canada, from China were $438.9
billion, USTR, China Trade Summary, Executive Office of the President,
https://ustr.gov/countries-regions/china-mongolia-taiwan/peoples-republic-china,
and from Mexico were $505.9 billion, USTR, Mexico Trade Summary, Executive
Office of the President, https://ustr.gov/countries-regions/americas/mexico.
26
   Kimberly Clausing and Mary E. Lovely, Trump’s tariffs on Canada, Mexico, and
China would cost the typical US household over $1,200 a year, Peterson Institute
for International Economics (Feb. 3, 2025), https://www.piie.com/research/piie-
charts/2025/trumps-tariffs-canada-mexico-and-china-would-cost-typical-us-
household

                                           21
     Case 1:25-cv-00096-3JP      Document 1      Filed 04/03/25    Page 22 of 29




                                 COUNT II
     (Defendants President Trump and Executive Office of the President)
                        Ultra Vires Executive Orders
       The President Has Not Shown That the China Executive Orders
             Are “Necessary” to Address the Stated Emergency
      56.    Plaintiff incorporates paragraphs 1–43 by reference as if fully set forth

herein.

      57.    The IEEPA requires a president to establish that the emergency actions

he takes are “necessary” to address the specific emergency he declared. 50 U.S.C.

§ 1703(b)(4). Likewise, it mandates that “[t]he authorities granted to the President

… may only be exercised to deal with an unusual and extraordinary threat with

respect to which a national emergency has been declared.” 50 U.S.C. § 1701(b)

(emphasis added). See also id. § 1701(a) (limiting the president’s authority to actions

“to deal with” the emergency). The IEEPA requires presidents to use the powers

granted only for the emergency, specifying that authority under the IEEPA “may not

be exercised for any other purpose.” Id. § 1701(b).

      58.    The President’s broad tariff—described by one economist as a strategy

of “flipping over the gameboard and scattering the pieces”27—does not meet the

requirement that the specific emergency action be “necessary” to address the specific

(opioid) problem. 50 U.S.C. § 1703(b)(4).



27
  Oren Cass, O Canada! Time to Talk Tariffs, Understanding America (Feb. 3,
2025), https://www.understandingamerica.co/p/o-canada-time-to-talk-tariffs.

                                          22
     Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25    Page 23 of 29




      59.    There is no “necessary” connection between the across-the-board tariff

and the opioid problem, because the opioid problem is not a trade problem at all

(given that what is being imported is in many cases an illegal substance), much less

a trade “emergency.”

      60.    Nor do the China Executive Orders make the required showing that the

president ordered the tariffs “only … to deal with” the “national emergency” he

declared. 50 U.S.C. § 1701(b) (emphasis added).

      61.    To the contrary, other presidential statements show that the Executive

Orders imposed the tariff for a different purpose: to lower the United States trade

deficit and raise revenue.

      62.    Those statements allow the Court to determine whether the stated

reason for the President’s action is the actual reason. See Dep’t of Com. v. New York,

588 U.S. 752, 782 (2019) (remanding to the agency where the evidence did not

match the secretary’s explanation of his decision).

      63.    For example, as described above, the Inauguration Day Memorandum,

“America First Trade Policy,” discussed “our country’s large and persistent annual

trade deficits” and a possible “global supplemental tariff.” The Memorandum

discusses Mexico, Canada, and China, but not other countries.

      64.    The following week, a day before the President issued the first China

Executive Order, he discussed imposing universal tariffs on all products from these



                                          23
     Case 1:25-cv-00096-3JP      Document 1     Filed 04/03/25   Page 24 of 29




three countries. Explaining the reason for the tariffs on China, Canada, and Mexico,

he stated, “It’s pure economic.” He added, “We have big deficits with, as you

know, with all three of them.”28

      65.    The day after he imposed the tariffs on these three countries, the

President made a Truth Social post addressing imports from Canada. Referring to

the United States’ trade deficit with Canada, the President asserted that United

States’s imports provide it a “massive subsidy.”29

      66.    Because the China Executive Orders do not meet the IEEPA’s

requirements that the action ordered be “necessary” to address the specific

emergency, 50 U.S.C. §§ 1701, 1703(b)(4) & (5), and that the specific emergency

be the “only” reason for the action ordered, id. § 1701(b), the China Executive

Orders are ultra vires and unlawful. Because those Orders are unlawful, the HTSUS

modifications made in reliance on them also are unlawful.

      67.    The President’s ultra vires actions have caused and will continue to

cause irreparable harm to Plaintiff.




28
   Aime Williams, et al., Donald Trump threatens to ignite era of trade wars with
new tariffs, Financial Times (Jan. 31, 2025) (quoting President Trump),
https://www.ft.com/content/ff8116f0-b01f-4687-934a-a1b8a07bd5b0.
29
   Donald J. Trump (@realDonaldTrump), Truth Social (Feb. 2, 2025),
https://truthsocial.com/@realDonaldTrump/posts/113934520197790682.

                                         24
     Case 1:25-cv-00096-3JP       Document 1     Filed 04/03/25    Page 25 of 29




                                 COUNT III
     (Defendants President Trump and Executive Office of the President)
                  Violation of the U.S. Constitution, Art. I
              The IEEPA Violates the Nondelegation Doctrine
      68.     Plaintiff incorporates paragraphs 1–43 by reference as if fully set forth

herein.

      69.     Article I, Section 1 of the Constitution (the Vesting Clause) states that

“All legislative powers herein granted shall be vested in a Congress of the United

States … .”

      70.     Article I, Section 8 of the Constitution states that “The Congress shall

have Power To lay and collect Taxes, Duties, Imposts and Excises,” Art. I, § 8, cl. 1

(Taxing and Spending Clause), and “[t]o regulate Commerce with foreign Nations.”

Art. I, § 8, cl. 3 (Foreign Commerce Clause).

      71.     Congress “may not transfer to another branch ‘powers which are strictly

and exclusively legislative.’” Gundy v. United States, 588 U.S. 128, 135 (2019)

(quoting Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 42–43 (1825)). See also

Marshall Field & Co. v. Clark, 143 U.S. 649, 692 (1892) (“That [C]ongress cannot

delegate legislative power to the president is a principle universally recognized as

vital to the integrity and maintenance of the system of government ordained by the

[C]onstitution.”).

      72.     When Congress legislates, it must impose sufficient constraints on the

Executive Branch’s use of delegated authority. Gundy, 588 U.S. at 135-36. Congress


                                           25
     Case 1:25-cv-00096-3JP      Document 1      Filed 04/03/25    Page 26 of 29




can delegate power to another branch only if it “has supplied an intelligible principle

to guide the deleg[at]ee’s use of discretion.” Id. at 135.

      73.    If the IEEPA does authorize the President to impose the China tariff at

issue in the Executive Orders, then the IEEPA lacks an “intelligible principle” that

constrains Executive Branch decision-making authority. Gundy, 588 U.S. at 135. In

that case, the IEEPA is unconstitutional because it transfers core legislative powers

to the President by permitting him to set tariffs and regulate commerce with foreign

nations.

      74.    Accordingly, if the IEEPA is construed to allow tariffs, then it violates

the intelligible principle requirement and violates the nondelegation doctrine, and the

Executive Orders are unconstitutional. In that case, the China Executive Orders are

unlawful and the HTSUS modifications made in reliance on them also are unlawful.

      75.    The President’s unconstitutional exercise of legislative power has

caused and will continue to cause irreparable harm to Plaintiff.

                               COUNT IV
   (Defendants Secretary Noem, Department of Homeland Security, Acting
         Commissioner Flores, U.S. Customs and Border Protection)
  The Modifications to the HTSUS Violate the Administrative Procedure Act
      76.    Plaintiff incorporates paragraphs 1–43 by reference as if fully set forth

herein.

      77.    The Administrative Procedure Act requires a reviewing court to “hold

unlawful and set aside agency action” that is “arbitrary, capricious, an abuse of


                                           26
      Case 1:25-cv-00096-3JP      Document 1       Filed 04/03/25    Page 27 of 29




discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

“contrary to constitutional right, power, privilege, or immunity,” id. § 706(2)(B), or

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory

right,” id. § 706(2)(C).

      78.    As pleaded above, the HTSUS modifications made to comply with

them are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law,” 5 U.S.C. § 706(2)(A), “contrary to constitutional right,

power, privilege, or immunity,” id. § 706(2)(B), and “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” id. § 706(2)(C).

      79.    Accordingly, the HTSUS modifications must be vacated and set aside.

      80.    Defendants’ APA violations have caused and will continue to cause

ongoing irreparable harm to Plaintiff.

                              PRAYER FOR RELIEF


 WHEREFORE, Plaintiff prays that this Court grant the following relief:

      A.       A declaratory judgment pursuant to 28 U.S.C. § 2201(a) declaring that

the China Executive Orders are unlawful and unconstitutional, either (1) because

they are ultra vires as not being authorized by the statute, or (2) because the IEEPA

violates the Constitution by failing to provide an intelligible principle constraining

actions a president takes under that statute.

      B.       A declaratory judgment pursuant to 28 U.S.C. § 2201(a) declaring

                                            27
     Case 1:25-cv-00096-3JP       Document 1     Filed 04/03/25   Page 28 of 29




that, because the China Executive Orders are unlawful, the resulting HTSUS

modifications are unlawful and in violation of the Administrative Procedure Act.

      C.        Vacatur of the HTSUS modifications, holding them unlawful and

setting them aside as per APA § 706.

      D.        Permanent injunctive relief enjoining the Defendants Noem,

Department of Homeland Security, Flores, and U.S. Customs and Border Protection

from implementing or enforcing the China Executive Orders or the resulting

modifications to the HTSUS, and from taking any other actions to implement or

enforce those Executive Orders.

      E.        An award to Plaintiff of the costs of this action and reasonable

attorneys’ fees pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d).

      F.        Such other and relief as this Court may deem just and proper.

April 3, 2025                                   Respectfully submitted,

                                                Andrew J. Morris *
                                                Virginia Bar No. 88921
                                                John J. Vecchione*
                                                Virginia Bar No. 73828
                                                NEW CIVIL LIBERTIES ALLIANCE
                                                4250 N. Fairfax Drive, Suite 300
                                                Arlington, VA 22203
                                                Tel.: (202) 869-5210
                                                andrew.morris@ncla.legal
                                                john.vecchione@ncla.legal

                                                /s/ Bryan S. Gowdy
                                                Bryan S. Gowdy


                                           28
Case 1:25-cv-00096-3JP   Document 1    Filed 04/03/25   Page 29 of 29




                                      Florida Bar No.
                                      176631
                                      CREED & GOWDY, P.A.
                                      865 May Street
                                      Jacksonville, FL 32204
                                      Tel.: (904) 350-0075
                                      bgowdy@appellate-firm.com

                                      *Pro hac vice admission forthcoming




                                29
